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     United States of America
7
                                    IN THE UNITED STATES DISTRICT COURT
8
                                       EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                              CASE NO. 1:12-CR-0213 AWI BAM
10
                                   Plaintiff,               STIPULATION & ORDER
11                                                          CONTINUING SENTENCING HEARING

12                           v.                             Old Sentencing Date:     October 26, 2015

13                                                          New Sentencing Date: January 25, 2016
     RICARDO FABIAN SALINAS,                                Time:                10:00am
14                                                          Court:               Two
                                  Defendant.                       (Hon. Anthony W. Ishii)
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16           Defendant Ricardo Fabian Salinas pleaded guilty on May 6, 2013 to count 2 of the indictment, bank
17   fraud in violation of 18 U.S.C. § 1344. Sentencing is currently set for October 26, 2015 at 10:00 a.m.
18           To allow additional time for Mr. Salinas to fulfill his obligations under the plea agreement, the
19   parties hereby stipulate and jointly request that the Court order that the sentencing hearing in this case be
20   continued from October 26, 2015 to January 25, 2016, at 10:00 a.m., or to the earliest date thereafter that is
21   convenient to the Court. The parties further stipulate and jointly request that the Court extend the deadline to
22   file formal objections to the presentence report to one week prior to the continued sentencing date.
23           IT IS SO STIPULATED.
24   Dated: Oct. 20, 2015                                    Respectfully Submitted,
25                                                           BENJAMIN B. WAGNER
                                                             United States Attorney
26   /s/ John Garland
     (authorized on 10/19/15)                                /s/ Kirk E. Sherriff
27   JOHN GARLAND                                            KIRK E. SHERRIFF
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1                                                        ORDER

2            The Court has reviewed and considered the stipulation of the parties to continue the sentencing

3    hearing in this case. Good cause appearing, IT IS ORDERED that the sentencing hearing as to defendant

4    Ricardo Salinas is continued from October 26, 2015 to January 25, 2016, at 10:00 a.m., and that the deadline

5    to file formal objections to the presentence report is extended as set forth above.

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7    IT IS SO ORDERED.

8    Dated: October 20, 2015
                                                    SENIOR DISTRICT JUDGE
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